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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 UNITED STATES OF AMERICA,                   §
                                             §
                      Plaintiff,             §
                                             §       Criminal No. 3:09-CR-249-D (17)
 VS.                                         §
                                             §
 MILOS VUJANIC,                              §
                                             §
                      Defendant.             §

                                   MEMORANDUM OPINION
                                       AND ORDER

        Defendant Milos Vujanic (“Vujanic”) has filed a June 20, 2014 motion for discovery

 under Fed. R. Crim. P. 16. The court addresses the motion in this memorandum opinion and

 order, denying the motion in part as moot and in part on the merits.

                                                 I

        Vujanic seeks disclosure of the following: (1) his oral or written statements, including

 emails and other communications between Vujanic and third parties; (2) exhibits relating to

 Vujanic that are listed in Attachment A to a January 3, 2013 Supplemental Affidavit in

 Support of Request for Extradition; and (3) 31 categories of information that are referenced

 in the government’s extradition affidavits and/or the fourth superseding indictment. Vujanic

 complains that the government has provided him discovery

               consisting of 14 CDs of information, but these CDs do not
               include all of the relevant and discoverable information relating
               to Defendant. Moreover, as part of its disclosures, the
               government referenced the existence of “approximately 8 TBs
               of data from the seized computers.” Yet, it remains whether the
               government has produced the entirety of this information.
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 D. Mot. Discovery 2.

        The government responds that it has provided or offered options to make available to

 Vujanic all of the evidence in its possession to which he is entitled, and that it has and will

 continue to fully comply with its discovery obligations. The government maintains that on

 April 21, 2014 it sent Vujanic a database disk containing all of the scanned evidence, and a

 disk containing the government’s trial exhibits from the 2011 trial of Vujanic’s codefendants.

 It posits that it has also referred Vujanic to the discovery coordinating attorney to determine

 whether Vujanic can access the “processed” eight terabytes of data from the seized

 computers; that it has advised Vujanic that there are additional hard drives pertinent to him

 that were not part of the eight terabytes previously produced; and that it has instructed

 Vujanic to provide the government with an appropriately sized hard drive so that it can make

 a copy of the data for him.

        Vujanic replies that the government cannot satisfy its discovery obligations by

 providing him with every single document in the case and placing on him the burden of

 sifting through up to ten terabytes of information at his own expense.

                                               II

                                               A

        To the extent Vujanic requests discovery that the government is required, or has

 offered, to disclose under Rules 16 and 26.2, the Jencks Act, 18 U.S.C. § 3500, Brady v.

 Maryland, 373 U.S. 83 (1963), and its progeny, and Giglio v. United States, 405 U.S. 150

 (1972), and its progeny, or that the government has offered to provide under Rule 12(b)(4),

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 the motion is denied as moot. The government will be expected to comply with its

 obligations under Brady, Giglio, and the applicable rules and statutes. To the extent

 Vujanic’s requests exceed what is required by these authorities, the motion is denied.

                                               B

        As for Vujanic’s complaint about the volume of the government’s prior disclosures

 of discovery, “[a]s a general rule, the government is under no duty to direct a defendant to

 exculpatory evidence within a larger mass of disclosed evidence.” United States v. Skilling,

 554 F.3d 529, 576 (5th Cir. 2009), vacated in part on other grounds, 561 U.S. 358 (2010).

 A Brady violation will not be found where potentially exculpatory information is available

 to the defendant through an exercise of due diligence. Id. In Skilling the defendant argued

 that “the voluminosity of the government’s open file prevented him from effectively

 reviewing the government’s disclosure” and that “no amount of diligence, much less

 reasonable diligence, could have accomplished this task.” Id. The panel noted that “[t]here

 is little case law on whether a voluminous open file can itself violate Brady, and the

 outcomes of these cases seem to turn on what the government does in addition to allowing

 access to a voluminous open file.” Id. at 577. It also stated that it was not holding “that the

 use of a voluminous open file can never violate Brady.” Id. But the panel found no Brady

 violation where the government “did much more than drop several hundred million pages on

 [the defendant’s] doorstep.” Id. The government’s open file was electronic and searchable;

 the government produced a set of “hot documents” that it thought were important to its case

 or were potentially relevant to the defendant’s defense; the government created indices to

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 these and other documents; and it provided the defendant with access to various databases

 concerning prior litigation involving his company. Id. The panel noted that “there is no

 evidence that the government found something exculpatory but hid it in the open file with

 the hope that [the defendant] would never find it.” Id.

        In Vujanic’s case, the government has acknowledged its obligations to comply with

 Brady and Giglio. The government has also taken additional steps, some of which are of the

 type cited with approval in Skilling, to facilitate Vujanic’s review of the evidence: it has

 provided Vujanic a disc that contains the trial exhibits that it used in the 2011 trial of

 codefendants charged in the case; it has provided other data discs that are labeled according

 to their contents; it has identified Marlo P. Cadeddu, Esquire, the Coordinating Discovery

 Attorney previously appointed in the case, as a resource for accessing data disclosed in

 connection with the 2011 trial of the codefendants; it has stated that it will identify the

 sources of seized items; and it has advised Vujanic’s counsel that all email and instant

 message chats involving Vujanic are located within 8 terabytes or 2 terabytes of data rather

 than within the entire universe of discovery. Additionally, the court has granted Vujanic’s

 motion for approval of Criminal Justice Act funds so that Ms. Cadeddu can provide the same

 services as Coordinating Discovery Attorney as she provided to the numerous codefendants

 who were tried or entered guilty pleas. Vujanic will have the benefit of Ms. Cadeddu’s

 extensive prior experience in this case when attempting to narrow his examination of the

 discovery that the government has produced.



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                                        *    *     *

         Accordingly, Vujanic’s motion for discovery is denied in part as moot and denied in

 part.

         SO ORDERED.

         August 6, 2014.


                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            CHIEF JUDGE




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